Case: 2:19-cv-02931-JLG-EPD Doc #: 1 Filed: 07/05/19 Page: 1 of 17 PAGEID #: 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO — EASTERN DIVISION

at
JOSEPH P. KINNEARY U.S. COURTHOUSE JUL SPE
85 MARCONI BLVD. | COLUMBUS. OHIO 43215 ;

DEANO MCCORT,
INSTITUTIONAL NUMBER 724-513
68518 BANNOCK ROAD

ST. CLAIRSVILLE, OHIO 43950

-PLAINTIFF
v.

STATE OF OHIO,

1 CAPITOL SQUARE
COLUMBUS, OHIO 43215
[DEFENDANT J]

And;

OHIO DEPARTMENT OF
REHABILIFATION AND CORRECTION,
77) WEST BROAD STREET
COLUMBUS, OHIO 43222

[DEFENDANT 2]

And;

DIRECTOR

(INDIVIDUALLY AND IN THEIR
OFFICIAL CAPACITY)

OHIO DEPARTMENT OF
REHABILITATION AND CORRECTION,
770 WEST BROAD STREET
COLUMBUS, OHIO 43222

{DEFENDANT 3]

And;

CORRECTIONAL OFFICER GRAHAM
(INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY)

OHIO DEPARTMENT OF
REHABILITATION AND CORRECTION,
BELMONT CORRECTIONAL INST.
68518 BANNOCK ROAD

ST. CLAIRSVILLE, OHIO 43950
[DEFENDANT 4]

And;

CASE NUMBER: —
2 19CV393 4
JUDGE:

{ucge Graber,

MAGISTRATE JUDGE:

CIVIL COMPLAINT

CIVIL ACTION PURSUANT TO
28 U.S.C.A. § 1391
(JURISDICTION)

AND 42 U.S.C.A. §§ 1983

  
 

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CAPTAIN MICHAEL RIZZO
CUNDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY)

OHIO DEPARTMENT OF
REHABILITATION AND CORRECTION,
BELMONT CORRECTIONAL INST.
68518 BANNOCK ROAD

ST. CLAIRSVILLE, OHIO 43950
[DEFENDANT 5]

And;

INSTITUTIONAL INSPECTOR PATRICK
HALEY,

(INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY)

OHIO DEPARTMENT OF
REHABILITATION AND CORRECTION,
BELMONT CORRECTIONAL INST.
68518 BANNOCK ROAD

ST. CLAIRSVILLE, OHIO 43950
[DEFENDANT 6]

And;

DEPUTY WARDEN CLARK SCOTT,
(INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY)

OHIO DEPARTMENT OF
REHABILITATION AND CORRECTION,
BELMONT CORRECTIONAL INST.
68518 BANNOCK ROAD

ST. CLAIRSVILLE, OHIO 43950
[DEFENDANT 7]

And;

EUGENE BUTCH HUNYADI,
ASSISTANCE CHIEF INSPECTOR,
(INDIVIDUALLY AND IN THEIR
OFFICIAL CAPACITY)

OHIO DEPARTMENT OF
REHABILITATION AND CORRECTION,
770 WEST BROAD STREET
COLUMBUS, OHIO 43222

[DEFENDANT 8]

And;
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WARDEN DAVID W. GRAY,
(INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY)

OHIO DEPARTMENT OF
REHABILITATION AND CORRECTION,
BELMONT CORRECTIONAL INST.
68518 BANNOCK ROAD

ST. CLAIRSVILLE, OHIO 43950
[DEFENDANT 9]

-DEFENDANTS

Now comes, Deano McCort [hereinafter, “McCort”’], the Plaintiff, with civil action complaint
alleging that the named Defendants either knowingly and voluntarily violated Plaintiffs constitutional
rights on February 21“, 2019, and ignored the repeated complaints by attempting to cover up the illegal
actions of the Ohio Department of Rehabilitation and Correction and it’s employees.

The petitioner will set forth in the complaint reasons to grant the demand for jury trial.

The petitioner thanks the Honorable Court for its time and consideration in this matter.

Respectfully Submitted.

Vie 762 /-

DEANO MCCORT (A724-513)
68518 BANNOCK ROAD
ST. CLAIRSVILLE, OHIO 43950
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tad

COMPLAINT
This is a civil action for damages brought pursuant to the United States Constitution and
42 U.S.C. §§ 1983 resulting from deprivations, under color of law, of Plaintiff's rights
under the fourth, fifth, sixth, eighth and fourteenth amendments to the United States
Constitution and for tortious behavior under Ohio law.
This Court has jurisdiction over these claims pursuant to article III, section 1 of the
Constitution and 28 U.S.C. §§ 1331, 1332 and 1343. Plaintiff also invokes the pendant
jurisdiction of this Court to decide the asserted statutory and common law tort claim. The
amount in controversy exceeds $10,000.00 excluding interests and costs.
Venue ts properly established in this judicial district pursuant to 28 U.S.C. § 1391(B)
The Defendant’s place of business is centrally located at the address shown above,

despite satellite locations.

PARTIES

Deano McCort, the Plaintiff, is a citizen of the United States and a resident of St.
Clairsville, Ohio in Belmont County.

State of Ohio (hereinafter, “Defendant 1”]; Ohio Department of Rehabilitation and
Correction [hereinafter. “Department” and/or “Defendant 2”]; Director — Ohio
Department of Rehabilitation and Correction (individually and in their official capacity)
[hereinafter, “Director” and/or “Defendant 3”|; and Correctional Officer Graham
(individually and in his official capacity) [hereinafter, “Graham” and/or “Defendant 4”);
Captain Michael Rizzo (individually and in his official capacity) [hereinafter, “Rizzo”
and/or “Defendant 5”); Institutional Inspector Patrick Haley (individually and in his

official capacity) [hereinafter, “Defendant 6”], Deputy Warden Clark Scott, (individually
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and in his official capacity) [hereinafter, “Defendant 7]; and Eugene Butch Hunyadi,
(individually and in his official capacity) [hereinafter, “Defendant 8”] are Defendants,
were at all times relevant to the incidents which are the subject of this lawsuit. The acts
of the named Defendants which are the subject of this lawsuit were undertaken in the
regular course of their employment or existence. Those individuals named are being sued
both individually and in his/her official capacity. Upon information and belief, all
Defendants are residents of Ohio, namely Franklin County, Belmont County and/or other
Ohio county.

7. Correctional Officer Graham, Defendant, was at all times relevant to the incidents which
are the subject of this lawsuit. As such, he is a responsible party. State of Ohio; Ohio
Department of Rehabilitation and Correction [hereinafter. “Department”’]; Director —
Ohio Department of Rehabilitation and Correction (individually and in their official
capacity) [hereinafter, “Director”] are responsible for supervising the training,
instruction, discipline, control and conduct of Defendant Graham. They are also charged
with promulgating all orders, rules, instructions and regulations of the Ohio Department
of Rehabilitation and Correction including but not limited to those orders, rules,
instructions and regulations concerning the use of force and of deadly weapons. They
also have all authority to approve all weapons to be used by the employees (or like) of the
Department. Correctional Officer Graham is sued both individually and in his official
capacity. Upon information and belief, Correctional Officer Graham is a resident of
Ohio, likely Belmont County, Ohio or surrounding county.

8. State of Ohio; Ohio Department of Rehabilitation and Correction [hereinafter,
“Department” are public corporations charged with and responsible for appointing and

promoting, through the Governor of the State of Ohio, the members of the Ohio
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Department of Rehabilitation and Correction and for the supervision, training,
instruction, discipline. control and conduct of the Ohio Department of Rehabilitation and
Correction and its personnel. At all relevant times, Defendant 1, Defendant 2, Defendant
3, Defendant 5, Defendant 6, Defendant 7 and Defendant 9 had the power, right and duty
to control the manner in which Defendant 4 carried out the objectives of their
employment and to see that all orders, rules, instructions and regulations promulgated for
the State of Ohio and Department were consistent with the Constitution and the laws of
the state and county

FACTS
Plaintiff, Deano McCort was held at Belmont Correctional Institution under the direction
and control of the Ohio Department and Rehabilitation and Correction from 2016 to
current.
Defendant 1 and Defendant 2 are responsible for the operation of the Ohio Department of
Rehabilitation and Correction. The Department was responsible for Plaintiff's care and

safety while he was in their custody.

. Plaintiff was temporarily placed into temporary TPU segregation holding cell, this

designation was made to investigate whether or not Plaintiff had stolen items from
another department within the institution. This occurred on February 21°, 2019.

The temporary TPU segregation holding cell is an all brick cell; a metal door with a
viewing window and a hinged slot in the door for food delivery. This cell is without an
outside window; without a sink; and without a toilet.

Plaintiff was held in this cell and required the use of the lavatory to expel a bowel
movement. Plaintiff informed the officer on post, Defendant Graham of this urgent need.

Defendant Graham told Plaintiff that there were no restrooms available. Plaintiff's need
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increased and again Plaintiff informed Defendant Graham of this need. Defendant
Graham then returned with a trash bag and instructed Plaintiff that as there were no
restrooms available that this was his only option.

Plaintiff informed Defendant Graham that there were cells in the back of segregation that
had lavatory services, furthermore, Plaintiff informed Defendant Graham that there were
lavatory services in R&D (Receiving and Departure) Department.

Defendant Graham denied these requests and instructed Plaintiff that if he needed to
[expletive] (expel his bowels) that he would have to use the trash bag that was provided.
Sensing no other option, Plaintiff expelled his bowels into the trash bag and filled the bag
with his excrement.

Plaintiff was instructed to pass the used trash bag through the open slot tn the door to
which food is passed which contained the excrement and contaminated this slot used for
food.

During the time that Plaintiff was being held in this cell, the afternoon meal was
delivered to segregation. The tray of food was placed on and through this slot which
previously was used in an unsanitary manner to pass excrement.

After an investigation, Plaintiff was cleared of any and all wrongdoing and was released
back to general population.

Plaintiff used the grievance procedure in accordance with policy and exhausted all
internal remedies, pursuant to A.R. 5120-9-31. Plaintiff used the Informal Complaint
Resolution form; escalated this to a Grievance and appealed the decision of the Grievance
to Central Office in Columbus.

Plaintiff's initial Informal Complaint Resolution form was filed on February 21*, 2019,

the date of the incident at 5:18:31 PM. This form was immediately filed electronically.
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Plaintiff provided a narrative of the incident. However, four days later, Deputy Warden
Clark Scott wrote that this incident was being investigated on February 25", 2019 at
10:42:37 AM.

On February 26" 2019 at 9:26:29 AM, the following day, this Informal Complaint was
closed by Administrative Captain Mike Rizzo. There was no disposition, no opinion and
the results of this purported investigation were not disclosed and no resolution to this

incident was supported by any notation.

. Defendants by and through their actions attempted to cover-up this incident of Defendant

Graham to protect his employment.

Plaintiff inferred and surmised by and through the administration officials neglect in
replying to his complaint that this incident was not being dealt with in the serious manner
in which it necessitated. As such, he escalated this to the Formal Grievance which is
investigated by the Institutional Inspector’s Office. Plaintiff again provided another
narrative.

On March 1", 2019, the Office of the Institutional Inspector, by and through, Patrick
Haley stated, “Warden Gray stated that your case is still under investigation, and we take
your allegations very seriously. Additionally, the conduct alleged in this complaint will
not be tolerated by this office nor the Warden. Please be assured that a thorough
investigation is occurring and appropriate actions will be taken after the investigation is
completed and finalized. I will continue to monitor this issue as | do with all matters
regarding Appropriate Supervision in accordance with A.R. 5120-9-04. Based on the
above, your grievance is pending disposition. This office will take no further action

regarding this matter.” Inspector Patrick Haley then closed this grievance.
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Defendants again attempted to cover this incident up and closed the grievance despite the
on-going investigation of this matter.

On March 1*, 2019, Plaintiff escalated this grievance to an Appeal to the Chief
Inspector’s Office located at Central Office of the Ohio Department of Rehabilitation and
Correction in Columbus, Ohio. Plaintiff again provided an additional narrative.

On March 28", 2019 at 1:34:11 PM, Eugene Butch Hunyadi, of the Chief Inspector’s
Office informed Plaintiff that this case would require additional time to investigate in
accordance with A.R. 5120-9-31.

On April 5 2019 at 4:27:26 PM, Eugene Butch Hunyadi affirmed the decision rendered
by Patrick Haley and closed the appeal. Eugene Butch Hunyadi commented, “There is no
demonstrated evidence to support a violation of policy or rule in this matter;
inappropriate supervision requires elements outlined in Administrative Rule 5120-9-04,
none of which have been verified in this matter after an investigation conducted by the
Inspector. A separate investigation into job duties associated with post assignment(s) has
been undertaken.”

Belmont Correctional Institution employs the use of a video recording system throughout
the prison. Furthermore, the cell upon which Plaintiff was housed is monitored by this
system. Repeatedly, Plaintiff instructed investigators in this matter that what he asserted
to be facts are backed by the video recordings of the time that he was housed in
segregation.

The actions of these Defendants in concert demonstrate that Defendant Graham violated
Plaintiff's rights and then the Defendants plotted and schemed collectively or

individually to conspire to cover-up this incident.
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32. Plaintiff suffered and continues to suffer great mental and emotional pain and distress as
a result of these actions.

FEDERAL CAUSES OF ACTION

33. The allegations set forth in paragraphs | through 32 are incorporated herein by reference.

34. The hereinabove described actions and omissions, engaged in under color of state
authority by the Defendants, including all Defendants are all sued as a person,
responsible because of its authorization, condonation, and ratification thereof for the acts
of its agents, deprived the plaintiff of rights secured to him by the Constitution of the
United States, including, but not limited to, his first amendment right to freedom of
expression, his fifth and fourteenth amendment rights to due process of law and his
eighth amendment right to be free from cruel and unusual punishment.

COUNT 1

35. Paragraphs | through 34 are adopted and incorporated by reference and are repeated and
re-alleged.

36. Acting under color of law and the authority of all Defendant’s intentionaily, negligently
and with complete and deliberate indifference for Plaintiff's rights caused Plaintiff to be
deprived of his constitutional rights, including but not limited to those under the fourth,
fifth, sixth, eighth and fourteenth amendments by:

a. Violating Plaintiff's right to be free from cruel and unusual punishment as
guaranteed by the Eighth Amendment to the United States Constitution; and

b. Subjecting Plaintiff to punishment without the benefit of a trial by jury in
violation of his rights under the sixth and eighth amendments.

37. All Defendants, under color of law, intentionally, negligently and with complete and

deliberate indifference to Plaintiff's rights, caused Plaintiff to be deprived of his

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constitutional rights including but not limited to the fourth, fifth, sixth, eighth and

fourteenth amendments, by:

a.

Failing to supervise properly the training and conduct of Defendant 4, Graham, an
employee of the Ohio Department of Rehabilitation and Correction;

Failing to enforce the laws of Ohio, and the provisions of the Constitution of the
United States concerning punishment by members of the Department while
housing an inmate; and

Promulgating and issuing Ohio Department of Rehabilitation and Correction’s

manual.

38. Plaintiff's deprivations of his constitutional rights were proximately caused by

Defendant 4, Graham’s:

a.

Inadequate supervision of the training and conduct of Ohio Department of
Rehabilitation Correction employees;

Failure to enforce the laws of Ohio and the provisions of the Constitution of the
United States: and

Issuance of vague, confusing and contradictory policies concerning appropriate
punishments that are inconsistent with the requirements of the fourth, fifth, sixth,

eighth and fourteenth amendments of the United States Constitution.

39. Defendants, under color of law, intentionally, negligently and with complete and

deliberate indifference for Plaintiff's rights, authorized, permitted and tolerated the

custom and practice of the unconstitutional punishments by members of the Ohio

Department of Rehabilitation Correction and, in particular by Defendant Graham

(Defendant 4) by failing to:

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a. Appoint, promote, train and supervise members of the Ohio Department of
Rehabilitation Correction who would enforce the laws in effect in Ohio and who
would protect the constitutional nights of the people of Ohio;

b. Require Defendants 1, 2, 3,5, 6, 7 and 9 to promulgate procedures and policies
for the appropriate supervision that were consistent with the fourth, fifth, sixth,
eighth and fourteenth amendments of the Constitution; and

c. By permitting the policy and custom of using unreasonable punishments to exist
and to be followed by the Ohio Department of Rehabilitation Correction, thereby
proximately causing the deprivation of Plaintiff's rights under the fourth, fifth,
sixth, eighth and fourteenth amendments to the United States Constitution.

COUNT If

Paragraphs | through 39 are adopted and incorporated by reference and are repeated and
re-alleged.

The above described punishment by Defendants on the date of offense constitutes a
violation of the Plaintiff's rights under the laws of Ohio and Federal taws.

As aresult of the punishment upon his person by the Defendants, Plaintiff has suffered
severe and permanent mental pain and distress.

Defendants negligently caused the above described supervision and punishement to
Plaintiff by failing to properly train, supervise and control the conduct of Defendants’
actions.

Defendant 1, 2, 3, 5, 6. 7 and 9, as the employer of Defendant 4 is liable under the

doctrine of superior for the tortious conduct of the individual Defendant.

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COUNT I
Paragraphs 1 through 44 are adopted and incorporated by reference and are repeated and
re-alleged.
The above described inappropriate supervision by Defendants on the date of offense
constitutes cruel and unusual punishment against Plaintiff under the laws of Ohio and
Federal laws.
The conduct of Defendants in failing to properly train, supervise and control the conduct
of Defendant 4 constitutes negligence and gross negligence under the laws of Ohio.
Defendant 2 under the direction and control of Defendant 1, as employer of Defendants 3
and 4 are liable under the doctrine of superior for the tortious conduct of the individual

Defendant.

COUNT IV
Paragraphs | through 48 are adopted and incorporated by reference and are repeated and
re-alleged.
Defendants 1, 2 and 3 were deliberately indifferent in maintaining Plaintiff health by
allowing the excrement to pass through a slot in which food is passed.
Further. Defendants had a sufficiently culpable state of mind when it passed the food
through the slot that just prior had excrement passed through, which is evidenced by the
video recording of the events.
Defendants knew of and disregarded the excessive risk to Plaintiff’s health and safety. It
is well known that excrement, human feces contains high levels of bacteria and other
pathogens.
Defendants did not provide any medical care consistent with current medical treatments

to ensure that Plaintiff did not suffer any medical issues as a result of this incident.
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COUNT V
Paragraphs 1 through 53 are adopted and incorporated by reference and are repeated and
re-alleged.
Defendant 4 employed inappropriate supervision against Plaintiff and subjected him to
cruel and unusual punishment while at Belmont Correctional Institution.
Defendant 4 with purpose and intent knowingly punished Plaintiff in a cruel and unusual
manner that was objectively unreasonable.
Defendant 4 did not exercise or defer to policies and practices that are/were required to
preserve internal order and discipline and to maintain institutional security.
Defendant 4 supervised Plaintiff that is not within the scope of the need for acceptable
forms of punishment and this punishment was not in line with the dictates of the
constitution. The situation at issue here required no form of punishment.
Plaintiff was under investigation for possible theft of a roll of duct tape which did not
pose a security threat to Defendants or correctional staff, thus, Defendant did not need to
use any form of restriction or punishment to resolve the incident.
Plaintiff's was subjected to a punishment that was excessive, cruel and unusual and
weighs in favor of a violation of the Plaintiffs Eighth Amendment rights to be free from
cruel and unusual punishment.
Defendant 4 did not use any amount of effort to temper or limit the amount of

punishment and weighs in favor of violating the Plaintiff's rights.

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RELIEF REQUESTED
WHEREFORE, Plaintiff prays that this Court:

62. Award to Plaintiff compensatory damages in an amount to be determined at trial, but not
less than the amount of $2,500,000.00, jointly and severally against Defendants for the
matters alleged in this Complaint;

63. Award to Plaintiff punitive damages in an amount to be determined at trail against all
Defendants;

64. Award to Plaintiff reasonable costs and attorney fees;

65. Grant such other and further relief as this Court deems just and proper.

DEMAND FOR TRIAL BY JURY

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby demands trial by

jury in this action for all issues so triable.
ANY DEMAND FOR DISCOVERY

Upon request of Defendants, Plaintiff will provide as required any request for discovery.
Furthermore, Plaintiff will request discovery of the entire record that is held by the Ohio Department of
Rehabilitation and Correction and any other related internal documents related to this incident that
occurred at a later time when demand for discovery may be filed.

Respectfully Submitted,

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DEANO MCCORT (A724-513)
68518 BANNOCK ROAD
ST. CLAIRSVILLE, OHIO 43950

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VERIFICATION

State of Ohio
County of Belmont

Sn

Deano McCort, being duly sworn, deposes and states:

1. Iam the Petitioner in this action.
2. I have read the petition and every statement in it is true and correct within my personal
knowledge. ;

I signed this Verification one ef day of

Clairsville, Ohio 43950.

2019 at 68518 Bannock Road, St.

| NO Elf,

~~ EANO MCCORT

SUBSCRIBED AND SWORN TO BEFORE ME on the GQ ( day of \& JU. , 2019 at

Belmont Correctional Institution, located at 68518 Bannock Road, St. Clairsville, Ohio 4

 

 

 
 
   

NOTARY

MICHELLE LYNN THEIL
Notary Public, State of Ohio

Bf wy Commission Expires QZ. | 2AZ0te

 

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CERTIFICATE OF SERVICE
This is to certify that a copy of the foregoing “Civil Complaint and Civil Action, Pursuant to 28
USCA §§ 1391 (Jurisdiction) and 42 USCA §§ 1983” has been mailed by regular U.S. mail to the Clerk
of Courts for the U.S. District Court for the Southern District of Ohio on the 2 day of

—_ CM Ey , 2019 for service by certified mail to all parties involved.

 

TO THE CLERK:
The Clerk, upon receipt of this complaint shall serve by certified mail to all Defendants listed in

the complaint a copy of the following:

Respectfully Submitted,

| DMWO AO Ge
DEANO MCCORT (A724-513)

68518 BANNOCK ROAD
ST. CLAIRSVILLE, OHIO 43950

 

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TO BE COMPLETED BY THE CLERK:
Notice of this filing will be sent to all parties by certified mail or operation of the Court’s

electronic filing system on this _ day of , 2019.

, Clerk

 

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